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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------X
NATIONAL COALITION ON                 :
BLACK CIVIC PARTICIPATION, et al.,    :
                                      :
                      Plaintiffs,     :      20 Civ. 8668 (VM)
                                      :
     - against -                      :          ORDER
                                      :
JACOB WOHL, et al.,                   :
                                      :
                      Defendants.     :
--------------------------------------X
VICTOR MARRERO, United States District Judge.

     The Court will hold a hearing in the above-captioned matter on

Monday, October 26, 2020 at 9:00 a.m. Due to the ongoing COVID-19

pandemic, the hearing will take place by teleconference using the

following dial-in: (888) 363-4749 (international callers dial (215)

446-3662), access code 8392198.

     Defendants are directed to respond to Plaintiffs’ request for a

temporary   restraining   order   by   written   submission   no   later   than

Friday, October 23, 2020 at 5:00 p.m.

     The parties are further directed to review the Court’s Emergency

Individual Rules and Practices in Light of COVID-19, available on the

Court’s website: https://www.nysd.uscourts.gov/hon-victor-marrero.

SO ORDERED.

Dated:      New York, New York
            22 October 2020
                                          ________________________
                                               VICTOR MARRERO
                                                   U.S.D.J.
